Ca_se 1:04;cv-00442-ACK-B|\/|K Document106-5 Filed 03/06/200§5_ Page 1 of2

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Subieci CV. 05~0{)247|-16-3|\!¥3< WELES, et a|. vs. DEPAR”E"ME£NT OF
EDUCA“§“|ON, 91 ai.

 

Notices
l:()$~cv"G{)le'?-HG'BMK Wi§es, et af v. Department of Educat, et al

`U.S. I}istrict Court
Bistrict of Hawaii - CM/E.CF VZ.S (11/05)

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Case Name: Wiles, et al V. Depar'tment of Educat, oi al
Case Numher: l:OS~cv»247

Fi}er:

I)ocument Number: 24

Docket 'I`ext:

NOTICE of Hearing on Motion [22] First MOTION for Summary ludgment, and [23] First
MOTION for Partial Summary ]"uégment: Motion Hearing set for 3/28/2006 99:00 AM in Aha
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